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EXHIBIT A
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Corporate Eagle Flight Department
Recapitalization Investment
Executive Summary

June 2006

flight department
beyond all expectations

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Overview of the Corporate Eagle Flight Depariment Operations

© The Corporate Eagle Flight Department operations are operating at a very high
level of organization, quality and safety. We have in place an outstanding NBAA
Safety Award winning team with all the required Federal Aviation
Administrations compliance and licensing requirements. Our operations are
setting an example in our industry with the effectiveness of our organization,
processes and procedures. Our southeastern Michigan client base is strong
and we are providing our clients with the best customer service available. In
addition, our experienced management organization has developed to the level
that will allow the president the opportunity to be the sales force behind the
program.

Tradewinds Aviation’s Financial Resources

© Tradewinds Aviation has been profitable for eighteen consecutive quarters. Our
operations cash flow and earnings are meeting our current objectives. However,
our equity position does not allow us the opportunity to invest the necessary
capital into opening a second location, invest in our own aircraft inventory and
fund a comprehensive marketing plan that is required to bring the Corporate
Eagle Flight Department to the next level. A recapitalization of $5,000,000
consisting of a combination of Tradewinds Aviation equity and funding our own
aircraft transaction company would provide the capital requirements to fund
these priorities.

Brand Identity Marketing for the Corporate Eagle Flight Department

© We are currently creating a brand identity for the Corporate Eagle Flight
Department. This message includes utilizing local spokesman talent,
developing an exciting website (CorporateEagle.com), establishing a direct
mail and print media initiative, offering product display open house
presentations and a Public Relations message with a consistent and
continuous message to create the Corporate Eagle Flight Department as a
recognized name in the industry. The foundation of our brand identity message
has been established and the marketing message for our services in two
locations (Michigan and Florida) has been identified.

The Corporate Eagle Flight Department Business Model

@ The Corporate Eagle Flight Department business model is superior in many
ways when compared against the traditional fractional and charter programs.
Our dedication to detail and customer service sets us apart from these
alternatives and our costs structures are much more competitive. Fractional
programs are the most expensive way to operate a business aircraft due to the
ever increasing costs associated with the business model. In addition, the lack
of service, lack of attention to detail and the inadequate cosmetic care of the
aircraft are causing their customers to look elsewhere for service. Charter
programs are ever increasingly unavailable and the quality in terms of
equipment and safety is creating concern for the users of this type of service.
The Corporate Eagle Flight Department business model success is proven by
our ability to renew nine of nine clients in our program since June of 2004. tn
addition, our business model of providing an exclusive and local private club
with a very high level of personal service and attention to detail achieves the
objectives that users of private aircraft are seeking.
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The Corporate Eagle Flight Department Business Plan

€ Our current business plan must be fo first create a second location for our

services which will provide synergies that are most attractive for our existing
clients and in an economic environment that has a demand for our services.
Secondly, we must invest in our own aircraft inventory and create additional
financing options and flexibility to sell and lease shares of Hawker aircraft. And
third, we must create awareness of our program by funding our marketing and
public relations initiatives in both locations. This second base will not only allow
us fo grow in a market with much more demand, it will also provide synergies
with our existing customers and flight profiles. Offering one-way travel between
southeastern Michigan and Florida and our own base for fuel and services will
provide customer demand and cost efficiencies that will create a very profitable
and growing program. Investing in our own inventory and controlling both the
capital investment as well as the management program will provide the
flexibility and response time that has never been available in our program. And,
properly funding our marketing and public relations initiatives in both locations
will create a demand for our services as never before experienced.

Capitatizing our Company for Growth

© The key fo the implementation of our business plan is the requirement of

financial resources. At our current growth rate it is simply not possible to invest
the capital required to implement our business plan. Operationally we are
sound and there is no need to layer additional costs to existing operations. All
additional equity will be targeted toward our growth business plan and
investment objectives. To achieve the required equity position a recapitalization
of $5,000,000 is proposed consisting of a combination of Tradewinds Aviation
equity and funding of our transaction company. This new equity position would
greatly enhance our profit potential by expanding the opportunities to sell and
lease more shares to more customers through our existing Corporate Eagle
Flight Depariment platform.

investor Benefits

In addition to the transaction company’s attractive return on equity investment
opportunity and a substantial equity position in the operating company, the
investors will also have special opportunities to utilize the aircraft for their own
use. Each investor will be provided the opportunity to utilize any company
owned inventory of aircraft shares at operating costs only, free of the
investment and fixed costs. In addition, company paid relocation flight seats
befween our two bases will be offered at $585 per seat plus special passenger
accommodations.
